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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                   )       Case No: 1:15 cv 1046
                                            )
       Plaintiff                            )       Judge Solomon Oliver, Jr.
                                            )
       vs.                                  )
                                            )       DEFENDANT’S
CITY OF CLEVELAND,                          )       MOTION TO CONTINUE
                                            )       JULY 15, 2025, STATUS CONFERENCE
       Defendant                            )       WITH MEMORANDUM IN SUPPORT


       Defendant City of Cleveland respectfully moves the Court in its discretion to continue the

status conference docketed for July 15, 2025. The grounds for this motion are set forth in the

attached memorandum.

                                                    Respectfully submitted,

                                                    MARK D. GRIFFIN
                                                    Director of Law

                                                    s/ Timothy J. Puin
                                                    _____________________________
                                                    Mark D. Griffin (0064141)
                                                    Delante Spencer Thomas (0096349)
                                                    Timothy J. Puin (0065120)
                                                    601 Lakeside Ave. E
                                                    City Hall Room 106
                                                    Cleveland, OH 44114
                                                    (216) 664-2800
                                                    mgriffin@clevelandohio.gov
                                                    dthomas3@clevelandohio.gov
                                                    tpuin@clevelandohio.gov
                                                    Attorneys for Defendant
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                                       MEMORANDUM
I.      Introduction

        Cleveland is diligently working to address community engagement, its promotion policy,

its advocacy document, and its 17th Semiannual Report. In addition, it is presently engaged with

the Department of Justice and the Monitoring Team on issues related to the departure of the

deputy monitor Abby Jae Wilhelm from the Monitoring Team. Cleveland is progressing on all

these initiatives. Although the Court has not circulated an agenda yet for the July 15, 2025,

status conference, Cleveland will be in a better position to make a substantive report to the Court

on all fronts when its documents and submissions are completed. Cleveland therefore seeks a

continuance of the July 15, 2025, status conference—ideally, until August 13, 2025, when the

next status conference is docketed, but at least for two weeks.

II.     Relevant Background

        In the Status Conference Order filed June 12, 2025 (ECF No. 619), the Court noted:

        Additionally, the parties and Monitor indicated that they would like to further
        address community engagement and the City’s promotion policy at the July status
        conference. The court adds these items to the agenda and asks the Monitor to
        confer with the Parties closer to the next status conference on other topics for
        discussion. The court hereby sets the following dates for the next three status
        conferences: July 15, 2025, at 2:00 p.m. August 13, 2025, at 2:00 p.m. September
        24,2025, at 3:00 p.m. The court anticipates that the September conference will
        coincide with the 17th Semiannual Status Conference.

        The Court has not yet set an agenda for the July 15, 2025, status conference.

        Cleveland has been drafting its most recent advocacy document. In addition, Cleveland

has been working to complete the 17th Semiannual Report. Both of these documents will be

relevant and will assist in having a more complete conversation at the August status conference.

Finally, Cleveland has been engaged in discussions with the DOJ and Monitor regarding possible

replacements for the deputy monitor, who has left employment with Hogan Lovells.

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         Since the last status conference, on June 11, 2025, there have been no disputes between

the parties and the Monitor on the Monitor’s monthly statements, except for the issue of “billing

for billing,” of which the Court is aware. Today, Cleveland withdrew its motion for partial

reconsideration on this issue.

         Plaintiff and the Monitor were not able to be consulted due to the limited time available,

but based on communications with the Monitor, the monitoring team had other activities planned

in Cleveland at this time and did not travel to Cleveland solely to attend the status conference.

III.     Law and Analysis

         It is within the Court’s discretion whether to hold a status conference. E.g., U.S. v.

Michigan, 422 F.Supp.2d 808, 810 (E.D. Mich. 2006). Moreover, “[a] district court’s decision

regarding a continuance is given great deference, ‘and will not be disturbed on appeal absent

clear abuse of [the court’s] discretion’.” Danjaq LLC v. Sony Corp., 263 F.3d 942, 961 (9th Cir.

2001), citing United States v. Flynt, 756 F.2d 1352, 1358 (9th Cir.), amended, 764 F.2d 675 (9th

Cir.1985).

         In this instance, the parties have been working in good faith together. Therefore, it is fair

to say that the case is proceeding favorably at this time. Given that the Monitor already was in

Cleveland for other activities, it would not be a hardship for the monitoring team members to

reschedule the status conference for the August 13, 2025, date.

         Thus, there is good cause to grant this motion in the Court’s discretion.

IV.      Conclusion

         Therefore, for the foregoing reasons, Defendant City of Cleveland respectfully moves the

Court in its discretion to continue the status conference docketed for July 15, 2025, until the next

status conference on August 13, 2025, or at least for two weeks.



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       The Court’s consideration on short notice is appreciated.

                                                    Respectfully submitted,

                                                    MARK D. GRIFFIN
                                                    Director of Law

                                                    s/ Timothy J. Puin
                                                    _____________________________
                                                    Mark D. Griffin (0064141)
                                                    Delante Spencer Thomas (0096349)
                                                    Timothy J. Puin (0065120)
                                                    601 Lakeside Ave. E
                                                    City Hall Room 106
                                                    Cleveland, OH 44114
                                                    (216) 664-2800
                                                    mgriffin@clevelandohio.gov
                                                    dthomas3@clevelandohio.gov
                                                    tpuin@clevelandohio.gov
                                                    Attorneys for Defendant


                                CERTIFICATE OF SERVICE

         A copy of this filing was sent via operation of the Court’s ECF system on the date of
filing to all parties of record, with a courtesy copy emailed to the Monitor,
karl.racine@hoganlovells.com.
                                                               s/ Timothy J. Puin
                                                       ____________________________________
                                                       One of the Attorneys for City of Cleveland




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